                  Case 2:21-mj-30516-DUTY ECF No. 1, PageID.1
                                              AUSA:   Christopher Filed 11/03/21 Telephone:
                                                                  Rawsthorne       Page 1 of   8 226-9100
                                                                                            (313)
AO 91 (Rev. ) Criminal Complaint                 Special Agent:     Danielle Santia                Telephone: (586) 412-4844

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan
                                                                                             Case: 2:21−mj−30516
United States of America                                                                     Assigned To : Unassigned
   v.                                                                    Case No.            Assign. Date : 11/3/2021
Alexander James Decker                                                                       Description: RE: ALEXANDER
                                                                                             JAMES DECKER (EOB)




                                                   CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of      April 2021 through November 2, 2021       in the county of           Macomb         in the
        Eastern           District of      Michigan        , the defendant(s) violated:
                   Code Section                                            Offense Description
18 USC § 2251                                           Child Exploitation
18 USC §§ 2252A(a)(2) & 2252A(a)(5)(B)                  Receipt, distribution, and possession of child pornography




          This criminal complaint is based on these facts:
see attached affidavit.




✔ Continued on the attached sheet.

                                                                                            Complainant’s signature

                                                                                    Danielle A. Santia, Special Agent (FBI)
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:   November 3, 2021                                                                       Judge’s signature

City and state: Detroit, Michigan                                           Hon. David R. Grand, United States Magistrate Judge
                                                                                             Printed name and title
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.2 Filed 11/03/21 Page 2 of 8




           AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
                        AND ARREST WARRANT

      I, Danielle A. Santia, a Special Agent of the Federal Bureau of Investigation

(FBI), currently assigned to the Detroit Division, Macomb County Resident Agency,

being duly sworn, depose and state as follows:

                                INTRODUCTION

      1.     I have been employed with the FBI for approximately 17 years and am

currently a Special Agent of the FBI. I have been a Special Agent for approximately

10.5 years and have investigated multiple federal criminal violations related to child

exploitation and child pornography. During the course of these investigations, my

duties included writing search warrants, complains and arrest warrants, participating

in the execution of search warrants, the collection of evidence, interviewing subjects

and witnesses of these cases, and testifying at various court proceedings in Federal

Court and Michigan State Court. I have been trained in the investigation of computer

crimes and the use of computers to store, transmit, print, and produce child

pornography. To date, I have either conducted or participated in over 300 child

exploitation investigations.

      2.     This affidavit is made in support of an application for a criminal

complaint and arrest warrant for ALEXANDER JAMES DECKER for violations of

18 U.S.C. § 2251 (Child Exploitation), 18 U.S.C. § 2252A(a)(2) (Receipt and



                                          1
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.3 Filed 11/03/21 Page 3 of 8




Distribution of Child Pornography), and 18 U.S.C. § 2252A(a)(5)(B) (Possession of

Child Pornography).

      3.     The statements contained in this affidavit are based in part on

information provided by U.S. federal law enforcement agents, written reports about

this and other investigations that I have received, directly or indirectly, from other

law enforcement agents, information gathered from investigative sources of

information, and my experience, training and background as a Special Agent.

      4.     Because this affidavit is being submitted for the limited purpose of

securing a criminal complaint, I have not included every fact known to me

concerning this investigation. I have set forth only the facts that I believe are

necessary to establish probable cause to believe that ALEXANDER JAMES

DECKER has violated the above-referenced statutes.

                       SUMMARY OF INVESTIGATION

      5.     Through an investigation conducted by the FBI, Macomb County

Resident Agency, on November 2, 2021, a federal search warrant was executed at

ALEXANDER JAMES DECKER’s residence in Clinton Township, Michigan. The

search warrant was obtained based on information that led investigators to believe

that DECKER was associated with a Snapchat account that was used to entice,

coerce, and threaten minor females into producing child pornography upon his




                                          2
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.4 Filed 11/03/21 Page 4 of 8




request. Furthermore, the Snapchat user took screen shots of child pornography he

received in an effort to save and preserve the images and videos on his digital device.

      6.     In June 2021, the Cobb County Police Department, Georgia, responded

to a call concerning the sexual exploitation of minor victim (MV-1) via Snapchat.

MV-1 is thirteen years old. MV-1 began communicating with “zander025” in April

2021. “zander025” asked MV-1 how old she was and she responded “13 years old.”

Almost immediately, the communication became sexual in nature. As a result of a

forensic interview of MV-1, Cobb County Police Department executed a search

warrant on Snapchat for the accounts associated with “zander025” and MV-1.

      7.     I was provided with a search warrant return from Snapchat. Upon

review of the Snapchat return, the following messages took place between

“zander025” and MV-1:

             a.     On April 21, 2021, “zander025” asked MV-1 if she was home
                    and when MV-1 indicated she was home, “zander025” said “u
                    should play with urself or take some pics.”
             b.     On May 1, 2021, “zander025” says to MV-1, “come put that
                    pussy on me baby.” And asks, “when are u gonna show me it
                    baby.” “Zander025” then says “when are u gonna show daddy
                    how tight u are.”
             c.     On May 11, 2021, “zander025” says “i’m gonna send shit to ur
                    house if u don’t send.” “Zander025” then sends messages to
                    MV-1 proving he knows where MV-1 lives and lists MV-1’s
                    family member’s names to further try and convince MV-1 that
                                          3
Case 2:21-mj-30516-DUTY ECF No. 1, PageID.5 Filed 11/03/21 Page 5 of 8




              he knows enough about her location to scare MV-1 into
              complying with his requests for sexual photos and videos.
              “Zander025” tells MV-1 that he is going to order $700 worth of
              pizzas to her home so her parents will have to pay for them. He
              also threatens to send feces in the mail.
        d.    On May 13, 2021, “zander025” continued to entice and pressure
              MV-1 to take sexual videos for him.          “zander025” sends
              Snapchat messages to MV-1 that he wants to see how “tight”
              MV-1’s “pussy” is and says “i wanna see u play with it I’ll tell u
              how.” MV-1 asks “zander025” to not scare her again and she
              offers to make a deal with him. MV-1 asked “zander025” if he
              would leave her alone if she sent 20 to 30 pictures. “Zander025”
              bargains with MV-1 and says she has to make “25 pics and 5 vids
              of my choice.”
        e.    On May 20, 2021, “zander025” instructs MV-1 how to
              masturbate and gives specific directions on what he wants MV-
              1 to do while masturbating. “zander025” says “ounc u get it set
              ur phone down in front of us and record u fingering urself and
              then sliding the hair brush handle in ur pussy and go in and out
              as fast as u can take a full video.”
        f.    When MV-1 tells “zander025” that she is having a hard time
              complying with his requests because it is too painful,
              “zander025” tells MV-1 she can use a “sharpie” instead.
        g.    MV-1 negotiated with “zander025” on various things she could
              do so that “zander025” would stop forcing her to create videos
              sexual in nature. “zander025” responds, “i want one of u peeing
              while laying back in the shower first. like laying back and peeing
                                     4
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.6 Filed 11/03/21 Page 6 of 8




                      up and out. like a distance pee. i’m sending ur nudes out. u had
                      too many chances. hopefully your parents won’t mind too much.
                      but expect some stuff in the mail too. plus all ur videos.”

      8.      Also during the review of the Snapchat search warrant return, I

discovered “zander025” was communicating with numerous females in addition to

MV-1. I reviewed hundreds of chats and multiple sexual videos and photographs of

both “zander025” and various unidentified females. Some of the females depicted in

these videos and photographs appeared to be minors. The chats revealed

“zander025” enticed and coerced multiple apparent minor victims to create child

pornography for his personal gratification. On occasion, some of the females refused

to comply with “zander025”s request for sexual videos and pictures. When females

refused to produce child pornography for “zander025,” he encouraged the females

to kill themselves.

      9.      DECKER was present at his home during execution of the federal

search warrant on November 2, 2021. DECKER was interviewed by me and Special

Agent Michelle Harmon. During the interview, DECKER made the following

statements:

              a.      DECKER used the snapchat account “zander025.” DECKER
                      communicated with various females on this account;
              b.      Since    approximately     Spring    2021,    DECKER          began
                      communicating     with    minor     females   through   Snapchat


                                            5
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.7 Filed 11/03/21 Page 7 of 8




                   (zander025) for the purpose of obtaining photographs and videos
                   sexual in nature;
             c.    DECKER requested minor females to produce photographs and
                   videos sexual in nature for his sexual gratification;
             d.    DECKER took photographs of his penis and sent them to minor
                   females via Snapchat.         Decker also took videos while
                   masturbating and sent them to minor females;
             e.    DECKER instructed minor females how to masturbate;
             f.    DECKER instructed minor females to insert hairbrushes in their
                   vagina during masturbation;
             g.    DECKER used various intimidation tactics to coerce and
                   threaten minor females into taking sexual videos and
                   photographs; and
             h.    DECKER saved numerous videos and pictures from minor
                   females that were sexual in nature to his iPhone11.

                                 CONCLUSION

      10.    Based upon the foregoing, there is probable cause to believe that

DECKER has enticed, coerced, and threatened minor females into producing child

pornography upon his request and furthermore saved the images in an effort to

preserve the digital files on his device. Furthermore, I believe that based off of IP

address information and DECKER’s statement that DECKER was in the Eastern

District of Michigan when he enticed MV-1 and other minor females to produce and

send him sexually explicit images.



                                         6
   Case 2:21-mj-30516-DUTY ECF No. 1, PageID.8 Filed 11/03/21 Page 8 of 8




        11.   For those reasons, I believe that there is probable cause that DECKER

has violated 18 U.S.C. § 2251, 18 U.S.C. § 2252A(a)(2), and 18 U.S.C.

§ 2252A(a)(5)(B)

                                             Respectfully submitted,



                                             Danielle A. Santia, Special Agent
                                             Federal Bureau of Investigation

Sworn to before me and signed in my
presence and/or by reliable electronic means.



HON. DAVID R. GRAND
UNITED STATES MAGISTRATE JUDGE

Date:   November 3, 2021




                                         7
